          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                  CRIMINAL CASE NO. 3:07cr211-2

UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                    SEALED ORDER
                            )
                            )
VICTORIA L. SPROUSE.        )
                          )

      THIS MATTER is before the Court on the Government’s Motion to

Correct Pleadings [Doc. 354].

      Defense counsel has advised the Court that she has no objection to the

motion. For the reasons stated in the motion, it will be granted.

      IT IS, THEREFORE, ORDERED that the Government’s Motion to

Correct Pleadings [Doc. 354] is hereby GRANTED and the following

documents are amended nunc pro tunc to reflect that they were filed under

the authority of Edward R. Ryan, Attorney for the United States acting under

the authority conferred by 28 U.S.C. §515: Documents 315, 317, 321, 325,

326, 327, 329, 337, 338, 339 and 341.

                                      Signed: July 16, 2010




   Case 3:07-cr-00211-MR-DCK    Document 356      Filed 07/19/10   Page 1 of 1
